          Case 1:17-cr-00201-ABJ Document 479 Filed 01/18/19 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                    v.                                 Crim. No. 17-201-1 (ABJ)

 PAUL J. MANAFORT, JR.,

                    Defendant.



                                   GOVERNMENT RESPONSE


        The Special Counsel Robert S. Mueller, III, files this submission pursuant to the Court’s

Minute Order dated January 17, 2019, directing the parties to set out their positions on the necessity

for the testimony of any witness. As noted in the Court’s January 8, 2019, Minute Order, the

defendant in his last submission “disputes all five alleged breaches.” As a result, the Court required

the government to submit its evidentiary basis for the five identified subject matter areas involved

in its breach determination. The government made the requisite evidentiary filing, submitting to

the Court a sworn declaration with exhibits. Doc. 474. The question of whether live testimony

will be necessary to resolve any factual issue will depend on the defendant’s upcoming submission.

The defense has not submitted any evidence to date. If it does not, the Court can resolve the factual

issues based on the evidence submitted, drawing inferences regarding intent from that evidence,

with the benefit of the parties’ arguments at the conference scheduled for January 25th. If there are

material factual disputes, however, witness testimony will assist in the resolution of those issues.

Finally, the government is of course prepared to proceed with witness testimony if the Court

believes it will assist in resolution of the matter.
        Case 1:17-cr-00201-ABJ Document 479 Filed 01/18/19 Page 2 of 2




                                    Respectfully submitted,

                                    ROBERT S. MUELLER, III
                                    Special Counsel

Dated: January 18, 2019             By: /s/ Andrew Weissmann _____
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